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Wurre te AzzARELLO, LLC

 

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January 28, 2019

DOCUMENT ELECTRONICALLY FILED

Honorable Leda Dunn Wettre,
United States Magistrate Judge
United States District Court,
District of New Jersey

50 Walnut Street, Room 2A
Newark, New Jersey 07102

Re: WCM Alternatives: Event-Driven Fund, et al. v. Perrigo Company plc, et al.,
Civil Action No. 2:18-cv-16204 (MCA) (LDW)

Dear Judge Wettre:

This firm, together with Labaton Sucharow LLP, represents Plaintiffs in the above-
referenced matter. We are seeking the pro hac vice admission of five attorneys from Labaton
Sucharow LLP on behalf of Plaintiffs. Enclosed are copies of the following in support of this

application:
1. Certification of John A. Azzarello;
2. Certification of Serena P. Hallowell;
3. Certification of Corban S. Rhodes;
4, Certification of Eric D. Gottlieb;
5. [Proposed] Order; and
6. Certification of Service

Counsel for the Defendants has consented to this application. As a result, we have not
filed a formal motion. If the certifications meet with your Honor's approval, kindly enter the
[Proposed] Order and have the Clerk's office enter it on the docket. Thank you for your time and
consideration.
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Respectfully submitted,
WHIPPLE AZZARELLO, LLC

By: _s/John A. Azzarello
John A. Azzarello (JA 4363)

JAA:sda
Enclosures
cc: All Counsel of Record (Via E-Filing)
